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 8   Thomas, Orr, Brown, and Cost
 9
                            UNITED STATES DISTRICT COURT
10
                                   DISTRICT OF ARIZONA
11
12   Christopher Gagne in his capacity as the          NO. 2:24-cv-01337-DJH
     Personal Representative of the Estate of
13   Shawn Taylor Gagne; Christopher and
     Suzette Gagne, husband and wife, as the          DEFENDANTS’ NOTICE OF
14   surviving parents of decedent Shawn Gagne,       SERVICE OF DISCOVERY

15                       Plaintiffs,

16   vs.

17   City of Mesa, a political subdivision of the
     State of Arizona; Kevin Cost, Chief of Mesa
18   Police Department, individually and in his
     official capacity; Matthew Harris, in his
19   individual capacity and in his capacity as a
     police officer; Kyle Thomas, in his
20   individual capacity and in his capacity as a
     police officer; Shawn Freeman, in his
21   individual capacity and in his capacity as a
     police officer; Matt Brown, in his individual
22   capacity and in his capacity as a police
     officer; Kyle Cameron, in his individual
23   capacity and in his capacity as a police
     officer; Matthew Chuey, in his individual
24   capacity and in his capacity as a police
     officer; Robert Goodrich, in his individual
25   capacity and in his capacity as a police
     officer; Alejandro Navarro, in his individual
26   capacity and in his capacity as a police
     officer; Matthew Adair, in his individual
27   capacity and in his capacity as a police
     officer; Christopher Orr, in his individual
28   capacity and in his capacity as a police
     Case 2:24-cv-01337-SHD        Document 81         Filed 11/26/24   Page 2 of 3



 1    officer; ABC Partnerships I-X; XYZ
      Corporations I-X; John Does I-X and Jane
 2    Does I-X,
                          Defendants.
 3
 4          NOTICE IS HEREBY GIVEN that Defendants Harris, Navarro, Cameron, Adair,

 5   Chuey, Goodrich, Freeman, Thomas, Orr, Brown, and Cost have served this date the

 6   following documents, via electronic mail, to all counsel of record.

 7          1.     Defendants’ First Set of Non-Uniform Interrogatories to Plaintiffs

 8          2.     Defendants’ First Set of Requests for Production to Plaintiffs

 9
            DATED this 26th day of November, 2024.
10
                                               WIENEKE LAW GROUP, PLC
11
                                        By:    /s/ Christina Retts
12                                             Kathleen L. Wieneke
13                                             Christina Retts
                                               Garrett Griggs
14                                             1225 West Washington Street, Suite 313
                                               Tempe, Arizona 85288
15                                             Attorneys for Defendants Harris, Navarro,
                                               Cameron, Adair, Chuey, Goodrich, Freeman,
16                                             Thomas, Orr, Brown, and Cost
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 1                               CERTIFICATE OF SERVICE
 2         I hereby certify that on November 26, 2024, I electronically transmitted the attached
 3   document to the Clerk's Office using the CM/ECF System for filing and transmittal of a
 4   Notice of Electronic Filing to the following CM/ECF registrants:
 5         Zachary Mushkatel
           Jordan A. Brunner
 6         MUSHKATEL, ROBBINS & BECKER, PLLC
 7         15249 North 99th Avenue
           Sun City, Arizona 85351-1964
 8         Attorneys for Plaintiffs
 9         I hereby certify that on this same date, I served the attached document by U.S. Mail,
10   postage prepaid, on the following, who is not a registered participant of the CM/ECF
11   System:
12         N/A
13
                                              By:        /s/ Lauren Rasmussen
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